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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

POPSOCKETS LLC,
                                                    Case No. 19-cv-01354
               Plaintiff,
                                                    Judge Matthew F. Kennelly
v.
                                                    Magistrate Judge Maria Valdez
CAR-ELEC2010, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff PopSockets

LLC (“PopSockets” or “Plaintiff”) hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, as to the following Defendants:

               Defendant Name                                         Line No.
                     adagio                                              35
          dingdingjiachaoliunvzhuang                                     81
                 GlobalEstore                                           104
                    hattman                                             112
                    Jkflying                                            133
                 MiniButterfly                                          163
                     opsanji                                            175
                 SandyMarket                                            189
                  Sheng Mei                                             191
       Shenzhen Hetang Technology co.,ltd                               192
                 SRETHWEU                                               199
                   Sweatlee                                             208




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Dated this 29th day of May 2019.     Respectfully submitted,


                                     /s/ Allyson Martin_______________
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Allyson Martin
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080 / 312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
                                     amartin@gbc.law

                                     Attorneys for Plaintiff PopSockets LLC




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